                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION


UNITED STATES OF AMERICA                                   )       DOCKET NO. 1:03CR27
                                                           )
              vs.                                          )       ORDER TO DESTROY
                                                           )           EVIDENCE
JUDY DARNELL BIRD                                          )


       THIS MATTER is before the Court upon the Government's motion for destruction of

evidence in the above-captioned case.

       For the reasons stated in the Government's motion and for good cause shown, the Court

finds that the firearm, specifically a Marlin Glenfield Model 75C .22LR rifle, S/N 22338924 w/o

scope; Marlin Model 60 .22LR, S/N 23538355; and a Remington Model 66 Nylon .22LR no

serial number found 22, which are now in the possession of the Federal Bureau of Investigation,

should be destroyed in accordance with the usual procedure for the destruction of such evidence.

       IT IS, THEREFORE, ORDERED that the Government's motion to destroy evidence is

hereby GRANTED.



                                               Signed: June 12, 2006




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